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                                                                   8                         UNITED STATES DISTRICT COURT
                                                                   9                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                  10                                  (Hon. Thomas J. Whelan)
                                                                  11   UNITED STATES OF AMERICA,                  Case No. 18-CR-3677-W
                                                                  12                     Plaintiff,               MEMORANDUM OF POINTS AND
SELTZER CAPLAN MCMAHON VITEK




                                                                                                                  AUTHORITIES IN SUPPORT OF
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13               v.                             MOTION FOR DISCOVERY AND
                                    750 B STREET, SUITE 2100




                                                                                                                  MOTION FOR LEAVE TO FILE
                                                                  14   DUNCAN D. HUNTER,                          ADDITIONAL MOTIONS
                                                                  15                     Defendant.               DATE:             July 1, 2019
                                                                                                                  TIME:             10:00 a.m.
                                                                  16                                              COURTROOM:        3C
                                                                                                                  JUDGE:            Hon. Thomas J. Whelan
                                                                  17
                                                                  18
                                                                  19         Defendant Duncan D. Hunter hereby moves the Court for an order that the
                                                                  20   Government provide discovery and production of various documents, objects,
                                                                  21   information, and materials with respect to the indictment in Criminal Case No. 18-CR-
                                                                  22   3677-W.
                                                                  23                                  I.   INTRODUCTION
                                                                  24         Duncan D. Hunter (“Hunter”) is a United States Representative representing
                                                                  25   California’s 50th Congressional District. On August 21, 2018, a sixty count indictment
                                                                  26   was filed charging Hunter with violation of 18 U.S.C. § 371; 18 U.S.C. §§ 1343 and 2;
                                                                  27   18 U.S.C. §§ 1519 and 2; 52 U.S.C. §§ 30109(b) and 30114(b)(1) and 18 U.S.C. § 2.
                                                                  28   Hunter hereby moves the Court for an order that the Government provide discovery and

                                                                       MEMORANDUM OF POINTS AND                                               18-CR-3677-W
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                                                                   1   production of various documents, objects, information, and materials with respect to the
                                                                   2   indictment in Criminal Case No. 18-CR-3677-W.
                                                                   3                            II.    MOTION FOR DISCOVERY
                                                                   4         Hunter makes this Motion pursuant to Title 18 of the United States Code, Rules
                                                                   5   12, 16 and 57 of the Federal Rules of Criminal Procedure, and the Fourth, Fifth and
                                                                   6   Sixth Amendments to the United States Constitution, on the grounds that such items are
                                                                   7   essential to the proper preparation of a defense in the instant matter, can be utilized to
                                                                   8   impeach witnesses, may exculpate Hunter, and in all events must be produced pursuant
                                                                   9   to Federal Rules of Criminal Procedure. Hunter’s request is not limited to items the
                                                                  10   prosecutor or the United States Office of the Southern District of California is aware of ,
                                                                  11   but includes all discovery listed below that is in the custody, control, care, or knowledge
                                                                  12   of any and all government agencies, and discovery of which the government may
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                                                                  13   become aware of . United States v. Bryan, 868 F.2d 1032 (9th Cir. 1989).
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                                                                  14         Hunter is entitled to and requests the government disclose the following
                                                                  15   documents and information:
                                                                  16   A.    Oral, Written, or Recorded Statements
                                                                  17         Hunter seeks from the Government the substance of any oral and written
                                                                  18   statements by him in the possession of the Government, pursuant to Federal Rule of
                                                                  19   Criminal Procedure (“FRCP”) 16(a)(1)(A) and (B).
                                                                  20   B.    Criminal Record
                                                                  21         It is well-settled that a criminal defendant is entitled to a copy of his criminal
                                                                  22   record from the Government as part of criminal discovery, which includes his prior
                                                                  23   convictions and his FBI “rap sheet.” United States v. Trejo-Zambrano, 582 F.2d 460,
                                                                  24   465 (9th Cir. 1978).
                                                                  25   C.    Pre-trial Disclosure of 404(b) Evidence
                                                                  26         Hunter makes a pre-trial request for all “other acts” evidence pursuant to FRCP
                                                                  27   16(a)(1)(C), FRCP 16(a)(1)(D), and Federal Rule of Evidence (“FRE”) 404(b). Under
                                                                  28   404(b) notice is mandatory, failure to provide notice renders the other acts evidence
                                                                                               2
                                                                       MEMORANDUM OF POINTS AND AUTHORITIES RE                                    18-CR-3677-W
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                                                                   1   inadmissible, whether the evidence is used in the prosecution's case-in-chief or for
                                                                   2   impeachment. United States v. Vega, 188 F.3d 1150, 1153 (9th Cir. 1999).
                                                                   3   D.    Description of Alleged Prior or Subsequent Bad Acts Both Charged and
                                                                             Uncharged
                                                                   4
                                                                   5         Hunter requests a description of any alleged prior or subsequent "bad acts" which
                                                                   6   the Government intends to introduce as evidence in its case-in-chief, or any
                                                                   7   impeachment evidence in its rebuttal case.       By "bad acts," Hunter is specifically
                                                                   8   referring to any prior convictions, alleged prior or subsequent criminal conduct for
                                                                   9   which Hunter was not prosecuted; for which charges were dismissed; for which Hunter
                                                                  10   was investigated, but no decisions were reached as to whether to prosecute; or for which
                                                                  11   no prosecution has yet been initiated. This item includes "bad acts" within the direct
                                                                  12   knowledge of the Government's witnesses, or in the possession of law enforcement
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                                                                  13   agencies, both federal or in the State of California. By “description,” Hunter requests:
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                                                                  14         (a)    A detailed description of the nature and circumstances of each bad act;
                                                                  15         (b)    The date and approximate time of each bad act;
                                                                  16         (c)    The locations where each bad act was allegedly committed, and;
                                                                  17         (d)    The names and present whereabouts of all witnesses to each bad act.
                                                                  18   Hunter makes this request under FRCP 12(d).
                                                                  19   E.    Production of Evidence Seized and Inspection of All Tangible Objects
                                                                  20         Hunter requests production of evidence seized as a result of any search with or
                                                                  21   without a warrant. FRCP 16(a)(1)(C). Hunter also requests the opportunity to inspect
                                                                  22   and copy, as well as test, all documents and tangible objects, including photographs,
                                                                  23   books, papers, documents, weapons, fingerprint analyses, vehicles, or copies of portions
                                                                  24   thereof, which are within the possession, custody or control of the government, the
                                                                  25   existence of which is known or by the exercise of due diligence may become known,
                                                                  26   including documents in the possession of cooperating witnesses, to the government and
                                                                  27   which are material to the preparation of his defense or which are intended for use by the
                                                                  28   government in their case-in-chief at trial. Hunter seeks this under Rule 16.
                                                                                               3
                                                                       MEMORANDUM OF POINTS AND AUTHORITIES RE                                   18-CR-3677-W
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                                                                   1   F.      Review of All Personnel Files of Each Government Agent Involved in the
                                                                               Case
                                                                   2
                                                                   3           Hunter requests the government review the individual personnel files of each
                                                                   4   agent involved in Hunter’s case for impeachment material or material favorable to his
                                                                   5   defense. The government must disclose information favorable to the defense and has a
                                                                   6   duty to examine personnel files upon a request by the defendant. United States v.
                                                                   7   Cadet, 727 F.2d 1453, 1467 (9th Cir.1984). The obligation to examine the personnel
                                                                   8   files arises by virtue of the defendant making of a demand for their production. United
                                                                   9   States v. Henthorn, 931 F.2d 29, 31 (9th Cir. 1991). Failure to disclose this information
                                                                  10   constitutes error. Id.
                                                                  11   G.      Preservation of Evidence
                                                                  12           Hunter requests the preservation of all agents’ communication recordings, agents’
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                                                                  13   rough notes, any documents, and any other physical evidence that may be destroyed,
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                                                                  14   lost, or otherwise put out of the possession, custody, or care of the government and
                                                                  15   which relates to the investigation in this case. This request includes, but is not limited to
                                                                  16   seized weapons, alleged contraband and vehicles, the results of any fingerprint or
                                                                  17   handwriting analysis, defendant’s personal effects, and any evidence seized from
                                                                  18   defendant or any other party.
                                                                  19   H.      Summaries of All Testimony of Experts the Government Intends to Use in Its
                                                                               Case-in-Chief
                                                                  20
                                                                  21           Hunter requests the Government provide summaries of the testimony of all expert
                                                                  22   witnesses the Government intends to use at trial, including the opinions, the bases and
                                                                  23   reasons therefore, and the witnesses’ qualifications, pursuant to FRCP 16(a)(1)(G).
                                                                  24   See, United States v. W.R. Grace, 526 F.3d 499, 516 (9th Cir. 2008) (requiring the
                                                                  25   timely disclosure of the government's expert witnesses and an expert report tailored to
                                                                  26   the issues on which each expert is expected to testify and further requiring expert
                                                                  27   disclosures must identify the documents or information that the expert reviewed in
                                                                  28   preparing his or her report).
                                                                                               4
                                                                       MEMORANDUM OF POINTS AND AUTHORITIES RE                                     18-CR-3677-W
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                                                                   1   I.      Giglio Material
                                                                   2           Hunter requests all statements and promises, express or implied, made to any
                                                                   3   government witnesses in exchange for testimony in this case, and all other information
                                                                   4   which could arguably be used for the impeachment of any government witnesses.
                                                                   5   Giglio v. United States, 405 U.S. 150 (1972).
                                                                   6   J.      All information regarding Informants and Cooperating Witnesses
                                                                   7           Hunter requests full disclosure of the name(s), address(es), criminal record, and
                                                                   8   location(s) of all informants or cooperating witnesses used or potentially to be used in
                                                                   9   this case, and in particular, disclosure of any informant who was a percipient witness in
                                                                  10   this case or otherwise participated in the crime charged. Roviaro v. United States, 353
                                                                  11   U.S. 52, 61-62 (1957). The government must disclose any information derived from
                                                                  12   informants which exculpates or tends to exculpate defendant. Brady v. Maryland, 373
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                                                                  13   U.S. 83 (1963). The government must disclose any information indicating bias on the
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                                                                  14   part of any informant or cooperating witness.        Id.   Hunter also requests that the
                                                                  15   government provide any information in its possession regarding other parties culpable in
                                                                  16   this matter as these individuals are highly relevant and material to his defense.
                                                                  17   K.      Jencks Act Material
                                                                  18           Hunter requests production in advance of trial of all Jencks Act material pursuant
                                                                  19   to 18 U.S.C. § 3500. Since “the rationale of the Jencks Act is to provide the defense
                                                                  20   with material that could impeach a government witness”, the Court should order the
                                                                  21   Jencks Act material to be produced well in advance of trial. See, United States v.
                                                                  22   Polizzi, 500 F.2d 856, 893 (9th Cir. 1974).
                                                                  23   L.      All Statements by both Charged and Uncharged Co-Conspirators
                                                                  24           Hunter requests the government turn over any and all statements the government
                                                                  25   intends to offer as evidence in trial made by all charged or uncharged coconspirators
                                                                  26   pursuant to FRCP 12 and 16 and FRE 801.             Hunter requests the Court order the
                                                                  27   government to immediately turn over coconspirator statements including, but not
                                                                  28   limited to, those containing exculpatory information, statements attributed to Hunter, or
                                                                                               5
                                                                       MEMORANDUM OF POINTS AND AUTHORITIES RE                                    18-CR-3677-W
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                                                                   1   the results of any scientific tests. Pretrial disclosure of conspirators' declarations which
                                                                   2   the government plans to introduce at trial as the defendants' own would substantially
                                                                   3   temper the possibility of unfair prejudice. United States v. Gallo, 654 F. Supp. 463, 477
                                                                   4   (E.D.N.Y. 1987). Hunter needs these statements in order to adequately prepare his
                                                                   5   defense for trial.
                                                                   6   M.     Government’s Compliance with the Ogden Memorandum
                                                                   7          Hunter requests the government comply with the Ogden memorandum issued on
                                                                   8   January 4, 2010, by then Deputy Attorney General Ogden, which instructed federal
                                                                   9   prosecutors on how to review discoverable information from other agencies in complex
                                                                  10   cases involving parallel proceedings with regulatory agencies, such as the case here.
                                                                  11   Hunter further requests the government provide a detailed summary of what steps it
                                                                  12   took in meeting its obligations under the Ogden memorandum, including but not limited
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                                                                  13   to its review process regarding: its review of the Investigative Agency's Files;
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                                                                  14   Confidential Informant (CI)/Witness (CW)/Human Source (CHS)/Source (CS) Files;
                                                                  15   Evidence and Information Gathered During the Investigation; Documents or Evidence
                                                                  16   Gathered by House of Representative Attorneys in any House Ethics Proceedings.
                                                                  17   N.     Information that May Result in a Lower Sentence
                                                                  18          Hunter requests any information that may result in a lower sentence under the
                                                                  19   Sentencing Guidelines. This information is discoverable under Brady v. Maryland, 373
                                                                  20   U.S. 83(1963). Included in this request is any information relevant to an adjustment,
                                                                  21   departure, a determination of Hunter’s criminal history, or any other application of the
                                                                  22   Guidelines.
                                                                  23   O.     Governments Witness List
                                                                  24          Hunter requests a list of witnesses in the instant case including witnesses that the
                                                                  25   Government intends to call in its case-in-chief at trial, and a list of percipient witnesses
                                                                  26   to the events in the indictment, who the Government does not intend to introduce at
                                                                  27   trial. The Court has absolute discretion to order the Government to produce such a list.
                                                                  28   United States v. Cadet, 727, F.2d 1453, 1469 (9th Cir. 1984). In fact the Ninth Circuit
                                                                                               6
                                                                       MEMORANDUM OF POINTS AND AUTHORITIES RE                                     18-CR-3677-W
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                                                                   1   has allowed the production of the governments witness list a year in advance of trial.
                                                                   2   W.R. Grace, 526 F.3d 499, 509 (9th Cir. 2008).
                                                                   3           In Cadet, the defendants sought a list of all witnesses to the actions described in
                                                                   4   the indictment. In addressing this discovery motion, the District Court ordered the
                                                                   5   Government to produce for Cadet's inspection the names and addresses of all witnesses
                                                                   6   to the actions described in the indictment, which the Government did not intend to call
                                                                   7   at trial. The Government objected to this order contending that the identity of the "non-
                                                                   8   witnesses" was not discoverable absent a showing of materiality. In upholding this
                                                                   9   order on appeal, the Ninth Circuit initially distinguished the names of witnesses from
                                                                  10   the witness' statement. The Court emphasized that the latter category of information
                                                                  11   was covered by the Jencks Act. However, the Court emphasized that it was well within
                                                                  12   the Court's discretion to permit disclosure of the identities of witnesses. The Court of
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                                                                  13   Appeals concluded that the District Court properly exercised its discretion to order the
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                                                                  14   production of such a witness list.
                                                                  15           Here, the Court should mandate the disclosure of a list of Government witnesses
                                                                  16   at this juncture. First, for the reasoning utilized by the Court in Cadet, it is apparent that
                                                                  17   witnesses who the government does not intend to call at trial may very well be witnesses
                                                                  18   exonerating Hunter. Thus, disclosure of their names is entirely appropriate. This
                                                                  19   disclosure would facilitate voir dire as well as defense preparation. Given the Court's
                                                                  20   broad discretion in this regard, Hunter requests an order for the witness list in advance
                                                                  21   of trial.
                                                                  22   P.      Statements of All Witnesses the Government Intends to Use at Trial in Its
                                                                               Case-in-Chief
                                                                  23
                                                                  24           In the interest of expediency once trial begins, Hunter has requested the
                                                                  25   statements of all witnesses the Government intends to use at trial in its case-in-chief.
                                                                  26   Hunter requests such statements 30 days prior to trial.
                                                                  27
                                                                  28
                                                                                               7
                                                                       MEMORANDUM OF POINTS AND AUTHORITIES RE                                      18-CR-3677-W
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                                                                   1   Q.      All Impeachment Materials and Information of Government’s Witnesses
                                                                   2           Hunter requests production of all evidence that might tend to impeach the
                                                                   3   Government’s witnesses.       Hunter’s requests for Giglio and Brady material are
                                                                   4   reincorporated.     Hunter additionally requests all information regarding prior
                                                                   5   participation of government witness in any investigations. United States v. Shaffer, 789
                                                                   6   F.2d 682 (9th Cir. 1986). Specific information of prior testimony or participation by
                                                                   7   government witnesses in other matters, investigations, or cases. Johnson v. Brewer, 521
                                                                   8   F.2d 556 (9th Cir. 1975). Internal government notes, memorandum, documents, and
                                                                   9   communications regarding impeachment information of all potential government
                                                                  10   witnesses, denial of which is grounds for reversible error. United States v. Brumel-
                                                                  11   Alvarez, 991 F.2d 1462 (9th Cir. 1993).
                                                                  12   R.      Names of Favorable Witnesses and Any Statements Relevant to his Defense
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                                                                  13           Hunter requests the names, addresses, phone numbers, and email addresses of any
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                                                                  14   witnesses who made an arguably favorable statement concerning the defendant or who
                                                                  15   could not identify him or who was unsure of his identity, or participation in the crime
                                                                  16   charged. Hunter also requests disclosure of any statement that may be “relevant to any
                                                                  17   possible defense or contention” that he may assert. United States v. Bailleaux, 685 F.2d
                                                                  18   1105 (9th Cir. 1982).
                                                                  19   S.      Subpoena’s, Intercepts, Warrant Information, including Warrant Affidavits,
                                                                               and Evidence Related to this Case
                                                                  20
                                                                  21           Hunter requests a copy of all electronic interception orders, search warrant
                                                                  22   affidavits, search warrants, sealing orders, and subpoenas (whether state or federal,
                                                                  23   whether written or telephonic, and including recordings or transcripts of telephonic
                                                                  24   applications), and all related applications for electronic interception, subpoenas, and
                                                                  25   warrants, their affidavits, attachments, and inventories related to this case. He also
                                                                  26   requests copies of all documents provided to or seized by the government pursuant to
                                                                  27   such court authorized orders. Hunter requests copies of all recordings made by the
                                                                  28
                                                                                               8
                                                                       MEMORANDUM OF POINTS AND AUTHORITIES RE                                 18-CR-3677-W
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                                                                   1   government pursuant to warrant or order as well as line-sheets and any other
                                                                   2   documentation of such recordings.
                                                                   3   T.    Residual Discovery and All Other Relevant Material
                                                                   4         Hunter intends for this motion to cover the full extent of discoverable material
                                                                   5   under Rule 16, the Federal Rules of Evidence, any other applicable statute, and the
                                                                   6   United States Constitution. Hunter therefore requests that the government be required
                                                                   7   to provide all other discoverable material which he otherwise has failed to specifically
                                                                   8   request. Hunter also requests that the government be directed to provide discovery on a
                                                                   9   continuing basis, such that if newly discovered evidence, or evidence not previously
                                                                  10   ordered to be provided, becomes reasonably known to the government, such evidence
                                                                  11   be provided immediately.
                                                                  12   U.    Exculpatory Evidence
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                                                                  13         Hunter requests all material or information in the possession, custody, or control
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                                                                  14   of the Government that may tend to exculpate him, pursuant to the United States
                                                                  15   Supreme Court’s holding in Brady.
                                                                  16           III.   MOTION FOR LEAVE TO FILE ADDITIONAL MOTIONS
                                                                  17         Hunter requests leave to file additional substantive motions once he has received
                                                                  18   and reviewed the expected discovery.
                                                                  19                                    IV.    CONCLUSION
                                                                  20         For the foregoing reasons, Hunter respectfully requests that the Court grant his
                                                                  21   motions for discovery and for leave to file additional motions.
                                                                  22
                                                                  23   Dated: June 24, 2019                   SELTZER CAPLAN McMAHON VITEK
                                                                                                              A Law Corporation
                                                                  24
                                                                  25                                           By:    s/ Gregory A. Vega
                                                                                                                      Gregory A. Vega
                                                                  26                                                  Ricardo Arias
                                                                                                                      Philip B. Adams
                                                                  27                                          Attorneys for Defendant, DUNCAN D. HUNTER
                                                                  28
                                                                                               9
                                                                       MEMORANDUM OF POINTS AND AUTHORITIES RE                                 18-CR-3677-W
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